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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 IN RE:
                                                    Chapter 11
 FRONTIER COMMUNICATIONS
 CORPORATION, et al.,1                              Case No. 20-22476 (RDD)
                       Debtors.
                                                    (Jointly Administered)


           ORDER GRANTING ADMISSION TO PRACTICE, PRO HAC VICE

       Upon the motion of Craig M. Greene to be admitted pro hac vice to represent

Federal Insurance Company a/s/o Greg A. Glynis and Miriam E. Mason in the above cases, and

upon the movant’s certification that the movant is a member in good standing of the bar in

the State of Florida and the U.S. District Court for Southern District of Florida, it is hereby

       ORDERED, that Craig M. Greene, Esq., is admitted to practice, pro hac vice, in the above

referenced cases to represent Federal Insurance Company a/s/o Greg A. Glynis and Miriam E.

Mason, in the United States Bankruptcy Court for the Southern District of New York, provided

that the filing fee has been paid.

Dated: White Plains, New York
       August 20, 2020

                                                      /s/Robert D. Drain
                                                      THE HONORABLE ROBERT D. DRAIN
                                                      UNITED STATES BANKRUPTCY JUDGE




1 The last four digits of Debtor Frontier Communications Corporation’s tax identification number
are 9596. Due to the large number of debtor entities in these chapter 11 cases, for which joint
administration has been granted, a complete list of the debtor entities and the last four digits of
their federal tax identification numbers are not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ proposed claims and noticing agent at
https://cases.primeclerk.com/ftr. The location of the Debtors’ service address for purposes of these
chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.
